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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

JOHN DOE                                      §
                                              §
v.                                            §
                                              §        CIVIL ACTION NO. 2:21-cv-257
TEXAS A&M UNIVERSITY-                         §        JURY
KINGSVILLE & MARK HUSSEY                      §
in his official capacity as President         §
of TEXAS A&M UNIVERSITY-                      §
KINGSVILLE                                    §

PLAINTIFF’S UNOPPOSED FIRST AMENDED MOTION FOR EXTENSION OF TIME
        TO FILE RESPONSE TO DEFEFNDANTS’ MOTION TO DISMISS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       NOW COMES Plaintiff, John Doe, filing this, his Plaintiff’s Unopposed First Amended

Motion for Extension of Time to File Response to Defendants’ Motion to Dismiss, and showing

unto the Court the following:

1.     On November 30, 2021, Defendants filed their Defendants’ Motion to Dismiss and

       Response to Plaintiff’s Motion for Temporary Restraining Order and Preliminary

       Injunction (hereinafter Defendants’ Motion to Dismiss). (D.E. 27).

2.      On December 3, 2021, Defendants filed their Defendants’ Unopposed Sealed Motion for

       Leave to File Evidence Under Seal as Exhibit 1 to Motion to Dismiss and Response to

       Plaintiff’s Motion for Temporary Restraining Order and Preliminary Injunction (DKT 27).

       On December 7, 2021, this Court granted said motion. (D.E. 31).

3.     On December 17, 2021, the Parties filed their Joint Motion for Entry of Confidentiality and

       Protective Order, wherein the Parties requested that before any necessary exhibits would

       be provided to the undersigned by Defendants, that the Court enter a protective order

       concerning same. On December 20, 2021, this Court granted said motion. (D.E. 33).
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4.    On December 21, 2021 (the date on which Plaintiff’s response to Defendants’ Motion to

      Dismiss would typically be due), Defendants provided Plaintiff with a link to secure a copy

      of the exhibits pertaining to Defendants’ Motion to Dismiss.

5.    Based on such and various other reasons, Plaintiff filed on December 27, 2021, his

      Plaintiff’s Unopposed Motion for Extension of Time to File Response to Defendants’

      Motion to Dismiss. On January 3, 2022, this Court granted said motion and extended the

      deadline for Plaintiff to respond to Defendants’ Motion to Dismiss to January 4, 2022.

6.    For two reasons, the undersigned has not been able to complete a review of the recording

      the subject of this case and/or complete the responsive briefing. The first and apart from a

      plethora of motion responses filed (in matters before this court and others) before the filing

      of Plaintiff’s Unopposed Motion for Extension of Time to File Response to Defendants’

      Motion to Dismiss, is that following the filing of same, and apart from numerous other

      daily tasks and work, the undersigned was involved in the following endeavors: 1)

      reviewing a 2,500+ page record before researching, drafting, finalizing and filing (on

      December 30, 2021) an appeal (and necessary documents related thereto) in the Thirteenth

      Court of Appeals (Cause No. 31-21-00079-CV); 2) preparing all necessary pretrial

      documents originally due January 3, 2022, for a trial in federal court scheduled to begin

      January 11, 2022, in the Southern District of Texas (said trial was reset January 3, 2022)

      (Civil Action No. 6:18-cv-00112); 3) filing (on December 29, 2021) - pursuant to a Court

      order - an amended federal complaint in a civil rights case in the Northern District of Texas

      (Civil Action No. 4:21-cv-00597); and 4) preparing for a temporary injunction hearing

      scheduled in Rockport for January 5, 2022 (Cause No. 210725 in the 343rd Judicial District

      Court, Aransas County, Texas). Secondly, there is the issue of the breadth of Defendants’




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        Motion to Dismiss, which encompassed not only issues concerning the temporary

        injunction, but also those pertaining to the merits of the pleadings under Rules 12(b)(1) and

        12(b)(6).

7.      Until yesterday afternoon, the undersigned had planned on filing a request to move the

        injunction hearing a to a later date due to the trial slated to be tried before Judge Tipton in

        Victoria. While such trial was moved (thereby removing any conflict for the date of

        injunction hearing), the undersigned still has a concern with completing the response as

        explained above. Because the parties do not want to delay the hearing any further, Plaintiff

        is requesting that his response to Defendants’ Motion to Dismiss be extended as follows:

                a) as to that portion concerning the temporary restraining order and preliminary

                      injunction (beginning p. 33), by two (2) days to January 6, 2022; and

                b) as to those portions concerning 12(b)(1) issues (beginning p. 11) and 12(b)(6)

                      issues (beginning p. 17), by seventeen (17) days to January 21, 2022.

8.      The undersigned counsel contacted counsel for Defendants and they are unopposed to both

        the filing of this motion and the relief requested herein.

WHEREFORE PREMISES CONSIDERED, Plaintiff respectfully prays that the Court grant

his Plaintiff’s Unopposed First Amended Motion for Extension of Time to File Response to

Defendants’ Motion to Dismiss and extend Plaintiff’s time to file his response to Defendants’

Motion to Dismiss as noted above, and for further relief, either at law or in equity, to which he may

be justly entitled.

                                                       Respectfully submitted,

                                                       GALE LAW GROUP, PLLC
                                                       525 Clifford St.
                                                       Corpus Christi, Texas 78404
                                                       Mailing Address:



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                                                    P.O. Box 2591
                                                    Corpus Christi, Texas 78403
                                                    Telephone: (361)808-4444
                                                    Telecopier: (361)232-4139

                                                    By: /s/ Christopher J. Gale
                                                    Christopher J. Gale
                                                    Southern District Bar No. 27257
                                                    Texas Bar No. 00793766
                                                    Email: Chris@GaleLawGroup.com
                                                    Attorney-In-Charge for Plaintiff

                                                    By: /s/ Amie Augenstein
                                                    Amie Augenstein
                                                    Southern District Bar No. 2236723
                                                    Texas Bar No: 24085184
                                                    Email: Amie@GaleLawGroup.com
                                                    Attorney for Plaintiff

                            NOTICE OF ELECTRONIC FILING

       The undersigned counsel hereby certifies that he has electronically submitted for filing a
true and correct copy of the above and foregoing in accordance with the Electronic Case Files
System of the Southern District of Texas on the 4th day of January, 2022.

                                                    /s/ Christopher J. Gale
                                                    Christopher J. Gale

                            CERTIFICATE OF CONFERENCE

      The undersigned counsel hereby certifies that he conferred with counsel for Defendant
County regarding this motion. Counsel indicated on behalf of Defendant County that they are
unopposed to both the filing of this motion and to the relief requested herein.

                                                    /s/ Christopher J. Gale
                                                    Christopher J. Gale




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this the 4th day of January, 2022, the above and foregoing was sent
to the following counsel of record by the means indicated below:

Benjamin Lyles                                       Via E-File Notification
Assistant Attorney General                           & By Email: Benjamin.Lyles@oag.texas.gov
Office of the Attorney General
P.O. Box 12548, Capitol Station
Austin, Texas 78711-2548

                                                     /s/ Christopher J. Gale
                                                     Christopher J. Gale




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